Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 1 of 20 PageID: 169259




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY




                                                 Case No. 3:16-md-2738 (MAS)/(RLS)

     IN RE: JOHNSON & JOHNSON TALCUM                     MLD Case No. 2738
     POWDER PRODUCTS MARKETING,
     SALES PRACTICES AND PRODUCTS                   [FILED ELECTRONICALLY]
     LIABILITY LITIGATION
                                                      Return Date: January 2, 2024




         ANDY D. BIRCHFIELD, JR. AND BEASLEY ALLEN’S OPPOSITION TO
        DEFENDANTS JOHNSON & JOHNSON AND LTL MANAGEMENT LLC’S
      MOTION FOR ORDER TO SHOW CAUSE SEEKING THE DISQUALIFICATION
      FROM THIS LITIGATION OR REMOVAL FROM THE PLAINTIFFS’ STEERING
                                 COMMITTEE


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Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 2 of 20 PageID: 169260




                                                       TABLE OF CONTENTS

                                                                                                                                          Page

    TABLE OF CONTENTS................................................................................................................. i

    TABLE OF AUTHORITIES ........................................................................................................... iii

    PRELIMINARY STATEMENT ...................................................................................................... 1

    BACKGROUND .............................................................................................................................. 3

         A. Mr. Birchfield is a Competent, Ethical Attorney, Who is Presumptively Entitled to
            Continue Representing Plaintiffs in this Case ...................................................................... 3

              1. Mr. Birchfield’s Substantial Background and Experience Litigating Complex Mass
                 Torts Cases and Class Actions ........................................................................................ 3

              2. J&J’s Baseless Allegations and Mr. Birchfield’s Thirty (30) Years of Ethical Conduct
                 and Compliance with the Attorney Rules of Professional Conduct ............................... 4

         B. Mr. Conlan Never Shared or Disseminated Confidential or Privileged Attorney-Client
            Information with Mr. Birchfield or Beasley Allen ............................................................... 5

         C. J&J’s Modus Operandi and Strategy of Attacking Lawyers and Witnesses Against Them
            Destroys Its Credibility ......................................................................................................... 6

    ARGUMENT .................................................................................................................................... 6

    I. J&J HAS FAILED TO CARRY ITS HEAVY BURDEN THAT BIRCHFIELD AND
       BEASLEY ALLEN SHOULD BE DISQUALIFIED FROM THIS LITIGATION AS A
       MATTER OF LAW .....................................................................................................................6
       A. Standard of Review ................................................................................................................7
       B. J&J Fails to Carry Its Heavy Burden to Disqualify Birchfield or Beasley Allen Because
          There is No Evidence that Birchfield or Beasley Allen Ever Obtained J&J’s Confidential
          or Privileged Client Information and Conlan is Not (and Was Never) an Attorney at
          Beasley Allen .........................................................................................................................8
          1. J&J Does Not Provide Any Evidence That Conlan Shared Confidential Privileged
              Information with Mr. Birchfield or Beasley Allen ..........................................................8
          2. No Conflict May Be Imputed to Beasley Allen because Conlan has no Attorney or
              Employment Relationship with Beasley Allen ................................................................9
       C. The Motion Should Be Denied Because J&J’s Application Lacks Not Only Legal Merit but
          Their Strategy of Attacking Anyone and Everyone Dilutes Any Credibility for J&J and its
          Counsel ................................................................................................................................ 11

    II. THERE IS NO BASIS TO REMOVE BEASLEY ALLEN FROM THE PLAINTIFFS’
        STEERING COMMITTEE .........................................................................................................13




                                                                i.
Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 3 of 20 PageID: 169261




     CONCLUSION .................................................................................................................................14




                                                                 ii.
Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 4 of 20 PageID: 169262




                                                      TABLE OF AUTHORITIES

                                                                                                                                            Page(s)
    CASES

    Alexander v. Primerica Holdings, Inc.,
       822 F. Supp. 1099 (D.N.J. 1993) ...............................................................................................7

    Alvarez v. Am. Lafrance, LLC,
       Civ. A. No. 15-civ-8446 (KSH), 2017 WL 2709562 (D.N.J. June 23, 2017) .........................10

    In re Bextra and Celebrex Marketing Sales Practices and Product Liability Litig.,
        495 F. Supp. 2d 1027 (N.D. Cal. 2007) .....................................................................................4

    In re Cedent Corp. Sec. Litig.,
        124 F. Supp. 2d 235 (D.N.J. 2000) ..........................................................................................10

    Chi Ming Yau v. He Cheng Rest. Corp.,
       Civ. A. No. 12-civ-6754 (MCA)/(LDW), 2015 WL 3540596 (D.N.J. June 2,
       2015). .........................................................................................................................................8

    City of Atl. City v. Trupos,
        992 A.2d 762 (N.J. 2010).....................................................................................................7, 10

    Commando v. Nugiel,
      436 N.J. Super. 203 (App. Div. 2014) .......................................................................................7

    Cordy v. Sherwin-Williams Co.,
       156 F.R.D. 575 (D.N.J. 1994) ..................................................................................................10

    Delso v. Trs. For Ret. Plan For Hourly Emps. of Merck & Co., Inc.,
       Civ. A. No. 04-civ-3009, 2007 WL 766349 (D.N.J. Mar. 6, 2007)...........................................7

    Dewey v. R.J. Reynolds,
       109 N.J. 201 (1988) ...................................................................................................................7

    Dewey v. R.J. Reynolds Tobacco Co.,
       536 A.2d 243 (N.J. 1988).........................................................................................................11

    Estep v. Pharmacia & Upjohn Co. (In re Testosterone Replacement Therapy
        Prods. Liab. Litig.),
        67 F. Supp. 3d 952 (N.D. Ill. 2014) ...........................................................................................4

    Ford Motor Co. v. Edgewood Properties, Inc.,
       Civ. A. No. 06-civ-1278, 2011 WL 5080347 (D.N.J. Oct. 25, 2011) .....................................10




                                                                           iii.
Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 5 of 20 PageID: 169263




    Fragoso v. Piao,
       433 F. Supp. 3d 623 (D.N.J. 2019) ................................................................................9, 11, 13

    Hester v. Bayer Corp.,
       206 F.R.D. 683 (M.D. Ala. 2001) ..............................................................................................4

    High 5 Games, LLC v. Marks,
       Civ. A. No. 13-civ-7161 (JMV), 2018 WL 2278103 (D.N.J. May 18, 2018) .........................11

    Estate of Kennedy v. Rosenblatt,
       447 N.J. Super. 444 (App. Div. 2016) .......................................................................................7

    In re Lisse,
        921 F.3d 629 (7th Cir. 2019) .....................................................................................................9

    In re LTL Mgmt., LLC,
        652 B.R. 433 (Bankr. D.N.J. 2023) ...........................................................................................1

    LTL Mgmt., LLC v. Those Parties Listed on Appendix A To Complaint (In re LTL
       Mgmt., LLC),
       58 F.4th 738 (3d Cir. 2023) .............................................................................................1, 2, 12

    Maldonado v. New Jersey,
       225 F.R.D. 120 (D.N.J. 2004) ....................................................................................................7

    Nasdaq, Inc v. Miami Int’l Holdings, Inc.,
       Civ. A. No. 17-civ-6664 (BRM), 2018 WL 6171819 (D.N.J. Nov. 26, 2018) ..........................7

    In re Prudential Ins. Co. Am. Sales Prac. Litig. Agent Actions,
        278 F.3d 175 (3d Cir. 2002).....................................................................................................11

    Richard H. Weatherly v. Depuy Orthopaedics,
       Case No. 1:23-civ-00134-(LCB)/(JEP) (filed July 20, 2023) ..................................................13

    In re Vioxx Prod. Liab. Litig.,
        802 F. Supp. 2d 740 (E.D. La. 2011) .........................................................................................3

    Other Authorities

    Fed. R. Civ. P. 103.1(a) ...................................................................................................................7

    RPC 1.6 ....................................................................................................................................4, 5, 8

    RPC 1.6(a)........................................................................................................................................8

    RPC 1.9 ..........................................................................................................................................10

    RPC 1.9(a)....................................................................................................................................7, 9




                                                                            iv.
Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 6 of 20 PageID: 169264




    RPC 1.9(a) and 1.9(c) ..................................................................................................................4, 5

    RPC 1.10 ....................................................................................................................................8, 10




                                                                          v.
Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 7 of 20 PageID: 169265




                                     PRELIMINARY STATEMENT

           Johnson & Johnson (J&J)’s motion to disqualify Andy Birchfield and Beasley Allen fails

    because: (1) the application is deficient as a matter of law, and (2) J&J lacks credibility in this

    challenge given the company’s unhinged practice of bad faith bankruptcy filings, ad hominem

    attacks on opposing counsel, and unfounded efforts to disqualify any who oppose it. Practicing

    law is a profession, not a locker-room brawl.

           Context is illuminating: Twice J&J has attempted to minimize its talc liability to cancer

    victims by filing Chapter 11 bankruptcy petitions of its subsidiary, LTL Management LLC (LTL).

    Twice it failed. Two courts have dismissed J&J’s flawed bankruptcy petition because J&J lacked

    financial distress.1 Now J&J’s seeks to derail jury trials by filing in bankruptcy a third time. 2 J&J

    blames Andy Birchfield, Leigh O’Dell, and the Beasley Allen Firm for its two defeats and seeks

    to have this Court remove them as obstacles as it prepares for its third bankruptcy attempt. 3

           Earlier this year, the United States Court of Appeals for the Third Circuit held that J&J

    filed their bankruptcy petition in bad faith with “no valid bankruptcy purpose” but rather filed




    1
            See LTL Mgmt., LLC v. Those Parties Listed on Appendix A To Complaint (In re LTL
    Mgmt., LLC), 58 F.4th 738 (3d Cir. 2023) (dismissing J&J’s first bankruptcy petition because it
    was filed in bad faith and it was not a debtor in distress); In re LTL Mgmt., LLC, 652 B.R. 433
    (Bankr. D.N.J. 2023) (dismissing J&J’s second bad faith bankruptcy because talc lawsuits did not
    make J&J a distressed debtor).
    2
           See Haas, Exh. 2 at 9 (stating on October 17, 2023 that J&J is considering filing yet
    “another bankruptcy”).
    3
            See J&J Br. at 5 (stating that “Birchfield took his opposition all the way to the Third Circuit
    and managed to defeat the bankruptcy plan”); id. at 7 (stating that “Once again, Birchfield and
    Beasley Allen… raised objections. Their opposition, orchestrated from Beasley Allen’s perch on
    the Plaintiffs’ Steering Committee in this MDL, again led to dismissal in July 2023”). As the Court
    is aware, the appeal that resulted in the Third Circuit reversal was prosecuted by the Official
    Committee of Tort Claimants (TCC) and other appellants. Beasley Allen’s client is a member of
    the TCC. Neither Beasley Allen nor Mr. Birchfield were appellants.

                                                      1
Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 8 of 20 PageID: 169266




    merely to “beat back talc litigation in trial courts.” LTL Mgmt., LLC v. Those Parties Listed on

    Appendix A To Complaint (In re LTL Mgmt., LLC), 58 F.4th 738 (3d Cir. 2023). J&J has not

    attacked merely Andy Birchfield, Leigh O’Dell, and their law firm – rather they have attacked

    everyone on their “enemies list.” Declaration of Jeffrey M. Pollock, Esq. (“Pollock Decl.”) at Exh.

    D.

           J&J bears a “heavy burden” in its efforts to disqualify Mr. Birchfield and his firm, but its

    application is premised entirely on conjecture, speculation, and hypothesis. Instead of providing

    any evidence of misconduct by Mr. Birchfield or Beasley Allen, J&J attacks its own former

    counsel James Conlan and his company Legacy Liability Solutions LLC (Legacy). Neither Mr.

    Conlan nor Legacy have ever been employees, attorneys, or partners of the Beasley Allen firm.

    J&J offers not a scintilla of evidence warranting disqualification of Mr. Birchfield.

           New Jersey’s ethics rules are clear that the Court must deny J&J’s motion of to disqualify

    Mr. Birchfield and his firm because the New Jersey Supreme Court places a greater value on

    respecting a client’s right to choose counsel than the competing issue of a purported violation of

    the ethics rules. Even assuming arguendo J&J’s unsupported attacks on Mr. Birchfield had any

    merit (which they do not), the balance must favor denial of J&J’s Order to Show Cause because

    under New Jersey law, greater weight is to be given to the client’s right to choose counsel.

    Moreover, a finding against Mr. Birchfield would also by imputed disqualification prohibit Ms.

    O’Dell (who was appointed by the Court to the Plaintiffs’ Steering Committee) from proceeding

    as counsel in this matter. Not only are there no facts warranting disqualification in the first place

    but weighing the balance in favor of disqualification—rather than preserving Ms. O’Dell and Mr.

    Birchfield as their client’s chosen champion—flies in the face of established New Jersey law.

            Neither Birchfield nor Beasley Allen received any confidential or privileged J&J


                                                     2
Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 9 of 20 PageID: 169267




    information from Conlan. Conlan did not divulge any confidential or privileged information to

    Birchfield or Beasley Allen. These facts are undisputed and dispositive. J&J’s motion should be

    denied.

                                              BACKGROUND

              A.     Mr. Birchfield is a Competent, Ethical Attorney, Who Is Presumptively
                     Entitled to Continue Representing Plaintiffs In This Case.

                     1.      Mr. Birchfield’s Substantial Background and Experience Litigating
                             Complex Mass Torts Cases and Class Actions.

              Mr. Birchfield is a competent, ethical attorney, who is presumptively entitled to represent

    Plaintiffs in this case. Declaration of Andy D. Birchfield (“Birchfield Decl.”) at ¶¶3-12. He is a

    member in good standing of the Alabama State Bar. Id. He is admitted to practice law in the State

    of Alabama, the United States District Court for the Northern, Middle and Southern Districts of

    Alabama, the United States District Court for the Eastern District of Louisiana, the United States

    Court of Appeals for the Eleventh Circuit, the United States Court of Appeals for the Fifth Circuit,

    and the United States Supreme Court. Id. at ¶3. Plaintiffs hired Mr. Birchfield because he has

    significant trial experience in both state and federal court, and decades of experience handling

    mass tort cases. Id. at ¶¶4-5.

              Mr. Birchfield joined Beasley Allen in 1996, and he has worked as an attorney at the firm

    since that time. Id. at ¶5. At Beasley Allen, Mr. Birchfield manages the firm’s Mass Torts Section,

    which includes approximately 132 people, including attorneys and staff. Id. Under Mr. Birchfield’s

    leadership, the Beasley Allen Mass Torts section has successfully resolved claims for thousands

    of clients in the Vioxx, Bextra/Celebrex, Actos, Xarelto, Baycol, Rezulin, PPA, Transvaginal Mesh,

    Ephedra and other litigations. Id. See, e.g., In re Vioxx Prod. Liab. Litig., 802 F. Supp. 2d 740, 779

    (E.D. La. 2011) (MDL Docket No. 1567) (Judge Eldon E. Fallon noting that “Birchfield provided

    the leadership necessary to bring this complex litigation to a successful and efficient resolution.
                                                       3
Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 10 of 20 PageID:
                                 169268



 Andy Birchfield’s commitment to the litigation from beginning to end is unmatched; he played

 crucial roles in MDL leadership, bellwether trials, settlement negotiations, and administration.”);

 Estep v. Pharmacia & Upjohn Co. (In re Testosterone Replacement Therapy Prods. Liab. Litig.),

 67 F. Supp. 3d 952, 957 (N.D. Ill. 2014) (MDL Docket No. 2545); In re Bextra and Celebrex

 Marketing Sales Practices and Product Liability Litig., 495 F. Supp. 2d 1027, 1029 (N.D. Cal.

 2007) (MDL Docket No. 1699); Hester v. Bayer Corp., 206 F.R.D. 683 (M.D. Ala. 2001). Id.

 Beasley Allen’s pending litigation against J&J involving J&J’s talcum powder-based products has been

 ongoing for more than ten years. Id. Mr. Birchfield has not represented either J&J or LTL. Id. at ¶6.

 Beasley Allen has not represented either J&J or LTL. Id. At no point in time has Mr. Conlan ever been

 a member, partner, employee, or counsel at Beasley Allen. Id. at ¶7.

        Mr. Birchfield is presently a member of the American Association for Justice and the

 Montgomery Trial Lawyers Associations. Id. at ¶8. He has also served as president of the Alabama

 Young Lawyers, as well as on numerous task forces and committees of the Alabama State Bar. Id.

 Mr. Birchfield has served on the Committee for Character and Fitness of Alabama, which assesses

 those attributes with respect to applicants for admission to the Bar. Id.

                2.      J&J’s Baseless Allegations and Mr. Birchfield’s Thirty (30) Years of
                        Ethical Conduct and Compliance with the Attorney Rules of
                        Professional Conduct.
        Mr. Birchfield is aware of and has complied with the Rules of Professional Conduct,

 including RPC 1.6 Confidentiality of Information. Id. at ¶¶9-10. Mr. Birchfield has respected and

 understood the attorney-client privilege and the confidentiality of client communications—and

 acted accordingly since he took and passed the bar exam. Id. Similarly, Mr. Birchfield has at all

 relevant times been aware of and complied with RPC 1.9(a) and 1.9(c), which govern an attorney’s

 professional and ethical obligations to former clients. Id. at ¶¶10-11.



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Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 11 of 20 PageID:
                                 169269



        Directly relevant to this matter, Mr. Birchfield has neither received, disseminated, nor

 shared confidential information, including trial strategy, litigation strategies, settlement practices,

 or proprietary information belonging to J&J. Id. at ¶11. Mr. Conlan has never shared privileged or

 confidential information he obtained from any of his former clients (including J&J) with Mr.

 Birchfield or his firm Beasley Allen. Id. at ¶12.

       B.      Mr. Conlan Never Shared or Disseminated Confidential or Privileged
               Attorney-Client Information with Mr. Birchfield or Beasley Allen.

       Mr. Conlan, a non-practicing lawyer, neither shared nor disseminated confidential or

 privileged attorney-client information belonging to J&J with Mr. Birchfield or Beasley Allen.

 Declaration of James F. Conlan (“Conlan Decl.”), at ¶¶9-10; Birchfield Decl. at ¶12. Mr. Conlan

 received his juris doctor in 1988 from the University of Iowa College of Law. Conlan Decl. at ¶2.

 Since his graduation from law school in 1988, he has had several law firm jobs. Id. at ¶3. He served

 as Global Practice Leader of Sidley Austin’s world-wide Restructuring Practice where he practiced

 for 32 years. Id. Most recently, Mr. Conlan served as a Partner and Global Co-Head of

 Restructuring at Faegre Drinker Biddle & Reath, LLP until 2022. Id. In March of 2022, Conlan

 co-founded Legacy. Id. at ¶5. Conlan currently serves as the Chief Executive Officer of Legacy.

 Id. During his tenure as Partner and Global Co-Head of Restructuring at Faegre Drinker Biddle &

 Reath, LLP, Conlan represented J&J. Id. at ¶4. At no point in time has Conlan ever been a member,

 partner, employee or counsel at Beasley Allen, Mr. Birchfield’s law firm. Id. at ¶7.

       Conlan is aware of the Rules of Professional Conduct, including RPC 1.6 Confidentiality of

 Information. Id. at ¶8. Conlan understands that the attorney-client privilege is the bedrock of client

 communications, and he has understood and acted accordingly since he took and passed the bar

 exam. Id. at ¶¶8-9. Similarly, Conlan has at all relevant times been aware of and complied with

 RPC 1.9(a) and 1.9(c), which govern an attorney’s professional and ethical obligations to former

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Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 12 of 20 PageID:
                                 169270



 clients. Id. at ¶¶9-10. Consistent with the Rules of Professional Conduct, Conlan has never

 disclosed to Mr. Birchfield or any member of his firm, Beasley Allen, any confidential information

 belonging to J&J—nor that of any other client from Conlan’s previous years of practice. Id. at ¶¶8-

 10.4

            C.     J&J’s Modus Operandi and Strategy of Attacking Lawyers and Witnesses
                   Against them Destroys Its Credibility.

            J&J’s pattern and practice in this and related matters like the failed LTL bankruptcy filings

 has been to personally attack lawyers, doctors, experts, and plaintiffs. J&J Br. at 5, 7; Pollock

 Decl., Exhs. A-K. J&J’s counsel has been held in contempt for repeated misconduct and personal

 attacks against a plaintiff’s expert and their attorneys. See Barden v. Brennatag trial, MID-L-1809-

 17 transcripts, infra, at Argument, Section C. See Pollock Decl., Exh. J (the trial court warning

 J&J’s counsel to “not to violate that order [barring inflammatory comments] You will refrain from

 that . . . during openings and the entirety of the case”); id. at Exh. K (J&J’s counsel accusing

 Plaintiff’s counsel of “manufactur[ing]” the litigation). Having had multiple bankruptcy petitions

 dismissed—and raising the possibility of filing yet another bankruptcy—J&J brings this Motion

 to disqualify Mr. Birchfield and Beasley Allen for successfully and powerfully advocating for their

 clients.

                                               ARGUMENT

                                               POINT ONE

      J&J HAS FAILED TO CARRY ITS HEAVY BURDEN THAT BIRCHFIELD AND
     BEASLEY ALLEN SHOULD BE DISQUALIFIED FROM THIS LITIGATION AS A
                             MATTER OF LAW.


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        John J. Gasparovic, the Executive Chairman of Legacy, has also never received any of
 J&J’s confidential or privileged information from Conlan. Declaration of John J. Gasparovic, at
 ¶¶6-8. Legacy therefore is not in possession of J&J’s confidential privileged information, and it
 could not be disclosed to Beasley Allen or Mr. Birchfield. Id.

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Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 13 of 20 PageID:
                                 169271



        A.      Standard of Review.

        On a motion to disqualify, the movant bears the burden of proof, and it is a “heavy

 burden.” Alexander v. Primerica Holdings, Inc., 822 F. Supp. 1099, 1114 (D.N.J. 1993). “Courts

 disfavor such motions and grant them only when absolutely necessary.” Maldonado v. New

 Jersey, 225 F.R.D. 120, 136-37 (D.N.J. 2004) (citation omitted). In this district, courts look to the

 New Jersey Rules of Professional Conduct with regard to issues of professional ethics. L. Civ. R.

 103.1(a). “When interpreting the RPC, the Court looks to New Jersey’s state courts’ interpretation

 of the RPC as primary authority and modifies it when required by federal law.” Delso v. Trs. For

 Ret. Plan For Hourly Emps. of Merck & Co., Inc., Civ. A. No. 04-civ-3009, 2007 WL 766349, at

 *5 (D.N.J. Mar. 6, 2007). In light of J&J’s invocation of a full arsenal of attacks on opposing

 counsel, on experts, on consultants, and on anyone who opposes J&J’s efforts to avoid its duty to

 compensate cancer victims, this Court should look askance at J&J’s application here.

        The party seeking disqualification bears the burden of production and “proving that

 disqualification is appropriate because the RPC was violated.” Nasdaq, Inc v. Miami Int'l

 Holdings, Inc., Civ. A. No. 17-civ-6664 (BRM)/(DEA), 2018 WL 6171819, at *4 (D.N.J. Nov. 26,

 2018) (citing City of Atl. City v. Trupos, 992 A.2d 762, 771 (N.J. 2010)). The burden of persuasion

 on all elements under RPC 1.9(a) remains with the moving party, it “bears the burden of proving

 that disqualification is justified.” Id. (emphasis added) (citation omitted). The determination of

 whether counsel should be disqualified is an issue of law. Id.

        New Jersey law strongly favors—especially when weighing the interests of a client’s right

 to choose counsel versus a purported ethical violation—that the courts respect the client’s choice

 of counsel. Mr. Birchfield and his firm are the plaintiffs’ choice here. Estate of Kennedy v.

 Rosenblatt, 447 N.J. Super. 444, 453 (App. Div. 2016); Dewey v. R.J. Reynolds, 109 N.J. 201, 253

 (1988); City of Atlantic City v. Trupos, 201 N.J. 447, 460 (2010); Commando v. Nugiel, 436 N.J.
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Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 14 of 20 PageID:
                                 169272



 Super. 203, 213 (App. Div. 2014). New Jersey’s scales of justice require here that the weight of

 the law is squarely and on the side of denying J&J’s application to disqualify Mr. Birchfield. .

         B.      J&J Fails to Carry Its Heavy Burden to Disqualify Birchfield or Beasley Allen
                 Because There is No Evidence That Birchfield or Beasley Allen Ever Obtained
                 J&J’s Confidential or Privileged Client Information and Conlan is Not (and
                 Was Never) an Attorney at Beasley Allen.

                 1.      J&J Does Not Provide Any Evidence That Conlan Shared Confidential
                         Privileged Information with Mr. Birchfield or Beasley Allen.

         J&J fails to carry its heavy burden to disqualify Mr. Birchfield of Beasley Allen because

 there is no evidence that Conlan shared any confidential or privileged information with Birchfield

 or Beasley Allen. “Confidentially between attorneys and their clients is governed by RPC 1.6.”

 Chi Ming Yau v. He Cheng Rest. Corp., Civ. A. No. 12-civ-6754 (MCA)/(LDW), 2015 WL

 3540596, at *5 (D.N.J. June 2, 2015). RPC 1.6(a) states, “[a] lawyer shall not reveal information

 relating to representation of a client unless the client consents after consultation, except for

 disclosures that are impliedly authorized in order to carry out the representation, and except as

 stated in paragraphs (b), (c), and (d).” Id.5

         Despite a lot of bluster about Mr. Conlan, J&J provides no basis (let alone evidence

 sufficient to satisfy its heavy burden) to disqualify Birchfield or Beasley Allen because neither Mr.

 Birchfield nor Beasley Allen received confidential information or knowingly used any privileged

 information. J&J’s moving brief does not specify any fact, theory, strategy, or piece of confidential

 information that Conlan purportedly shared with Birchfield or Beasley Allen. Instead, J&J

 claims—without evidence—that Conlan (not Birchfield or Beasley Allen) supposedly




 5
         Curiously, J&J does not cite or reference RPC 1.6 or RPC 1.10 in its opening brief.

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Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 15 of 20 PageID:
                                 169273



 “undermined” his former client and “flouted” ethical boundaries. J&J Br. at 6-8. 6 J&J does not

 provide any evidence for any of these allegations—which J&J concedes are “serious.”

        The fact that J&J brings this incompetent motion against Birchfield and Beasley Allen, not

 Conlan, is inexplicable. Neither Birchfield nor Beasley Allen ever represented J&J at any point in

 time, and Beasley Allen’s representation of its clients is not before the Court. If J&J genuinely

 believed misconduct occurred related to Conlan, it would have (and should have) included him as

 a party to this application. J&J’s decision to not seek relief here against Conlan speaks volumes.

 Therefore, the Motion should be denied because J&J cannot satisfy its burden of production.

 Fragoso v. Piao, 433 F. Supp. 3d 623, 627 (D.N.J. 2019).

                2.      No Conflict May Be Imputed to Beasley Allen Because Conlan Has No
                        Attorney or Employment Relationship with Beasley Allen.

        Because Mr. Conlan is not and has never been associated professionally as a lawyer with

 the Beasley Allen firm, imputed disqualification fails. No conflict may be imputed from Conlan

 to Beasley Allen because Conlan has never been—and is not now—an attorney at Beasley Allen.

 Under RPC 1.9(a), “[a] lawyer who has represented a client in a matter shall not thereafter

 represent another client in the same or a substantially related matter in which that client’s interests

 are materially adverse to the interests of the former client unless the former client gives informed

 consent confirmed in writing.” The “prohibition [of RPC 1.9(a)] is triggered when two factors

 coalesce: the matters between the present and former clients must be ‘the same or ... substantially




 6
        J&J’s repeated baseless accusations of attorney misconduct against Mr. Birchfield and
 Beasley Allen is itself sanctionable. See, e.g., In re Lisse, 921 F.3d 629, 644 (7th Cir. 2019)
 (“Flippant, unfounded accusations of misconduct and fraud by opposing counsel and court officials
 demean the profession and impair the orderly operation of the judicial system.”). Mr. Birchfield
 and Beasley Allen reserve the right to file a motion for attorneys’ fees and sanctions at an
 appropriate time.

                                                   9
Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 16 of 20 PageID:
                                 169274



 related,’ and the interests of the present and former clients must be ‘materially adverse.’” City of

 Atl. City, 992 A.2d at 771 (citation omitted).

        Because neither Mr. Birchfield nor Beasley Allen never represented J&J, RPC 1.9 and the

 “substantially related” inquiry does not apply. Similarly, J&J cannot argue (and has not argued)

 that Conlan’s prior work as J&J’s counsel trigger imputed disqualification of Beasley Allen

 because Conlan was never a partner, associate, or otherwise an employee of Beasley Allen. 7

 Under RPC 1.10(c), “[w]hen a lawyer becomes associated with a firm, no lawyer associated in the

 firm shall knowingly represent a person in a matter in which that lawyer is disqualified under RPC

 1.9 unless: (1) the matter does not involve a proceeding in which the personally disqualified lawyer

 had primary responsibility.” Ford Motor Co. v. Edgewood Properties, Inc., Civ. A. No. 06-civ-

 1278, 2011 WL 5080347, at *3 (D.N.J. Oct. 25, 2011).

        There is also no concurrent adverse representation issue here that would potentially warrant

 disqualification. See In re Cedent Corp. Sec. Litig., 124 F. Supp. 2d 235, 249 (D.N.J. 2000) (“New

 Jersey simply does not permit concurrent representation where the interests of two current clients

 are adverse.”), with Alvarez v. Am. Lafrance, LLC, Civ. A. No. 15-civ-8446 (KSH), 2017 WL

 2709562, at *2 (D.N.J. June 23, 2017) (noting that “disqualification is a harsh remedy which must

 be used sparingly.”).

        Although J&J has not yet attacked Legacy (the dispute resolution company where Mr.

 Conlan works), we might as well address that entity too because J&J has attacked nearly everything

 else. Mr. Conlan’s work with Legacy is no basis for disqualification against Beasley Allen. Legacy

 is not an adverse party to J&J. Rather, Legacy proposed an innovative resolution to J&J’s talc


 7
         Again, Conlan is not a party to this action or the Motion. Unlike the expert in Cordy v.
 Sherwin-Williams Co., 156 F.R.D. 575, 576 (D.N.J. 1994) that was disqualified for switching
 sides, Conlan is not a Beasley Allen attorney and does not represent Plaintiffs in any capacity.

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Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 17 of 20 PageID:
                                 169275



 problem. Legacy offered to acquire J&J’s talc liability for all time providing J&J the finality it

 purportedly seeks. Although J&J has taken the false position that finality could only come through

 bankruptcy and a 524(g)-channeling injunction, Legacy’s proposal demonstrates that true finality

 could be achieved without bankruptcy. Therefore, the Motion should be denied on the additional

 basis that Legacy is not an adverse party to J&J or LTL. 8

        The Motion should also be denied because the Plaintiff talc cancer victims have the right

 to choose their own lawyer. When reviewing a motion to disqualify an attorney, a court must

 balance competing interests, weighing the “need to maintain the highest standards of the

 profession” against “a client’s right freely to choose his counsel.” Dewey v. R.J. Reynolds Tobacco

 Co., 536 A.2d 243, 244-45 (N.J. 1988); accord High 5 Games, LLC v. Marks, Civ. A. No. 13-civ-

 7161 (JMV), 2018 WL 2278103, at *4 (D.N.J. May 18, 2018) (“Clients have a well-established,

 strongly protected right to choose their own lawyer.”). The Motion is an impermissible tactic to

 intimidate Plaintiffs. See Fragoso, 433 F. Supp. 3d at 628 (“Courts should take care that parties

 do not use motions to disqualify counsel for tactical reasons.”). J&J fails to carry its heavy burden

 that disqualification is warranted. The record is devoid of any evidence to support disqualification

 and J&J should not be allowed to choose (i.e. disqualify) Plaintiffs’ counsel.

        C.      The Motion Should Be Denied Because J&J’s Application Lacks Not Only
                Legal Merit but Their Strategy of Attacking Anyone and Everyone Dilutes
                Any Credibility for J&J and its Counsel.

        The Motion should be denied because it is merely the latest example in a long line of smear



 8
        J&J filed a nearly identical motion to disqualify Beasley Allen in the Superior Court of
 New Jersey, Atlantic County. Pollock Decl. at Exh. H. It is apparent that J&J filed these
 applications to harass Plaintiffs’ counsel and as a litigation tactic, not for any legitimate purpose.
 See In re Prudential Ins. Co. Am. Sales Prac. Litig. Agent Actions, 278 F.3d 175 (3d Cir. 2002)
 (discussing remedies to address a party that files identical motions and papers for improper
 purposes, including harassment).
                                                  11
Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 18 of 20 PageID:
                                 169276



 tactics where J&J has levied personal attacks at lawyers, doctors, experts, and plaintiffs to deflect

 from their own misconduct. The Third Circuit saw through J&J’s sham conduct and dismissed its

 bad faith bankruptcy petition because it had “no valid bankruptcy purpose” and was filed to “beat

 back talc litigation in trial courts.” LTL Mgmt., LLC, 58 F.4th at 763 n.19. Faced with mounting

 liability and dwindling options, J&J now attacks Plaintiff’s counsel, Mr. Birchfield, and his firm

 Beasley Allen. It is fair to assume all counsel of record for Plaintiffs (including the undersigned)

 in this case and in the other cases nationwide will face similar baseless disqualification motions if

 their opposition reaches a sufficient level of dissatisfaction to J&J. The Court should not

 countenance J&J’s use of the judicial system to inflict more harm on tort victims and their

 attorneys.

        J&J’s pattern, practice, and course of dealing of improper conduct is well-documented. For

 example:

     1. See Pollock Decl., Exh. A (“Weil Gotshal’s Lawyers Tough Tactics Sealed J&J Talc Win,”
        Bill Weichart, Law 360 (Oct. 31, 2018) (Weil Gotshal hammered hard that the asbestos
        claims against J&J alleged plaintiffs’ lawyers are perpetrating a fraud));

     2. See Pollock Decl., Exh. C (“Johnson & Johnson Uses ‘Project Plato’ to Potentially Avoid
        Talcum Power Payouts,” Clay Hodges, North Carolina Product Liability Lawyer Blog
        (Feb. 9, 2022) (stating Step 1 of J&J’s strategy is to obtain an automatic stay by filing
        bankruptcy); and

     3. The Third Circuit rejected J&J’s efforts to dump all of its liabilities into an underfunded
        Texas entity (LTL). See LTL Mgmt., LLC v. Those Parties Listed on Appendix A To
        Complaint (In re LTL Mgmt., LLC), 58 F.4th 738 (3d Cir. 2023)—even though J&J was
        (and still) is not in demonstrable financial distress.

 These are just some examples, but J&J’s counsel have moved to disqualify witnesses, 9 to attack

 counsel, and have been admonished for their overly aggressive tactics against not merely plaintiffs



 9
         See Pollock Decl., Exh. E (“In Talc Defense, Johnson & Johnson Sues 4 Doctors Over
 Their ‘Junk Litigation Opinions,’” Kevin Dunleavy, Pharma, (July 14, 2023) (J&J sues Richard
 Lawrence Kradin, Theresa Swain Emory, John Coultger Maddox, and Dr. Jacqueline Miriam
                                              12
Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 19 of 20 PageID:
                                 169277



 but repeatedly against the plaintiffs lawyers. 10 For years—and again in this Motion— J&J’s

 strategy has been to attack lawyers and witnesses that stand up against them. J&J’s claims are

 simply not credible. The company was once revered and trusted. Not anymore. 11

                                           POINT TWO
      THERE IS NO BASIS TO REMOVE BEASLEY ALLEN FROM THE PLAINTIFFS’
                            STEERING COMMITTEE
         J&J fails to articulate any basis to disqualify (remove) Beasley Allen from the Plaintiffs’

 Steering Committee. J&J concedes that Mr. Birchfield is not even on the Plaintiffs’ Steering

 Committee in his individual capacity. See J&J Br. at 7 (stating that “Beasley Allen” is on the

 Steering Committee). The Motion to remove Beasley Allen from the Plaintiffs’ Steering

 Committee should be denied. Leigh O’Dell was appointed by this Court to serve as Co-lead

 Counsel of the Plaintiffs’ Steering Committee, and she has served diligently in that role for seven

 years. The Beasley Allen clients, as well as hundreds of lawyers representing tens of thousands of

 cancer victims, know the tremendous effort that Ms. O’Dell has made to protect their interests and




 Moline because they provided opinions adverse to J&J)); See Pollock Decl., Exh. G (Dupuy
 Orthopaedics (a J&J subsidiary) moved to disqualify Dr. Dana Medlin in North Carolina, Richard
 H. Weatherly v. Depuy Orthopaedics, Case No. 1:23-cv-00134-(LCB)/(JEP) (filed July 20, 2023));
 See Pollock Decl., Exh. F (“J&J Subsidiary Sues More Talc Researchers,” Rebecca Trager,
 Chemistry World, (July 18, 2023) (J&J sues pathologists Theresa Emory, John Maddox, and
 Richard Kardin) because they testified against J&J on talc-based cancers).
 10
         In the recent Barden v. Brennatag trial, MID-L-1809-17 (July through September 2019)
 tried before Judge Viscomi), the Court had to admonish J&J’s counsel against personally attacking
 plaintiffs’ lawyers in order to prejudice the jury in favor of J&J: Pollock Decl., Exh. I (5T45:12-
 13) (court entering order barring J&J’s counsel from making “comments” “aimed at prejudicing
 the jury against plaintiff’s counsel” and excluding such comments); See Pollock Decl., Exh. B (“A
 Look At Biglaw’s Tough Trial Tactics,” Kathryn Rubino, Above the Law, (Nov. 2, 2018) (J&J’s
 lawyer, Diane Sullivan invoked strategy of attacking asbestos lawyers as selling sham claims).
 11
        The Court should not countenance J&J’s vindictive, heavy-handed tactics, and unmoored
 personal attacks. See Fragoso, 433 F. Supp. 3d at 628 (“Courts should take care that parties do not
 use motions to disqualify counsel for tactical reasons.”).

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Case 3:16-md-02738-MAS-RLS Document 28826 Filed 12/19/23 Page 20 of 20 PageID:
                                 169278



 they have the right to expect that she, along with Mr. Birchfield, will remain in this matter to

 champion their concerns. If this Court were to grant J&J’s motion here, J&J’s next motion would

 undoubtedly be to disqualify anyone at Beasley Allen (including Ms. O’Dell who was appointed

 by this Court to the Plaintiffs’ committee) by virtue of imputed disqualification. New Jersey law

 and its interpretation of the Rules of Professional Conduct does not support granting J&J’s flimsy

 unsupported motion in light of the much greater weight in the scales of justice in favor of letting

 Ms. O’Dell and Mr. Birchfield remain in the arena to represent their clients.

                                           CONCLUSION

        The Rules of Professional Conduct (RPCs) are proscriptive, meaning that when applied to

 legal counsel they are read narrowly and strictly. Put differently, the rules are the rules, but they

 are not to be expanded—as J&J seeks to do here—beyond their literal wording. J&J’s motion fails

 on the law and on the lack of any facts to support it. As there is no basis for J&J’s motion, it should

 be denied, and the litigation should proceed toward bellwether trials with Mr. Birchfield and Ms.

 O’Dell continuing to act zealously on behalf of their clients, while fighting tirelessly to resolve

 talc litigation in the face of J&J’s unproductive harassment, delay, and bad faith.

                                                        Respectfully submitted,

                                                        FOX ROTHSCHILD LLP

                                                        Attorneys for Andy Birchfield and Beazley
                                                        Allen

                                                        /s/ Jeffrey M. Pollock
                                                        JEFFREY M. POLLOCK
                                                        Certified by the Supreme Court of
                                                        New Jersey as a Civil Trial Lawyer

 Dated: December 19, 2023




                                                   14
